                            Case 19-11938-LSS              Doc 49        Filed 09/06/19         Page 1 of 3


                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

         In re:                                                         Chapter 11

         UBIOME, INC.,1                                                 Case No. 19-11938 (LSS)

                                              Debtor.                   Hearing Date: October 2, 2019 at 10:00 a.m. (ET)
                                                                        Objection Deadline: September 23, 2019 at 4:00 p.m. (ET)

                                                                        Ref. Docket Nos. 4, 6, 7, 8, 10, 13, 34, 36, 37, 39, 46 & 47



                         OMNIBUS NOTICE OF PLEADINGS AND HEARING THEREON

                         PLEASE TAKE NOTICE that, on September 4, 2019 uBiome, Inc., the debtor
         and debtor in possession in the above-captioned chapter 11 case (the “Debtor”), filed, among
         others, the following first day pleadings with the Court (collectively, the “First Day Pleadings):2

         1.        Debtor’s Motion for Interim and Final Orders Authorizing (A) the Maintenance of the
                   Cash Management System; (B) Maintenance of the Existing Bank Accounts;
                   (C) Continued Use of Existing Business Forms; (D) Continued Performance of
                   Intercompany Transactions in the Ordinary Course of Business and Grant of
                   Administrative Expense Status for Postpetition Intercompany Claims, and (E) Granting
                   Related Relief [Docket No. 4]

         2.        Debtor’s Motion for Entry of Interim and Final Orders (A) Prohibiting Utility Providers
                   from Altering, Refusing, or Discontinuing Service; (B) Approving the Debtor’s Proposed
                   Adequate Assurance of Payment for Postpetition Services; and (C) Establishing
                   Procedures for Resolving Requests for Additional Adequate Assurance of Payment
                   [Docket No. 6]

         3.        Debtor’s Motion for Entry of Interim and Final Orders (A) Authorizing, but not
                   Directing, the Debtor to Pay Certain Prepetition Taxes and Obligations and (B) Granting
                   Related Relief [Docket No. 7]

         4.        Debtor’s Motion for Entry of Interim and Final Orders Authorizing (A) Continuation of,
                   and Payment of Prepetition Obligations Incurred in the Ordinary Course of Business in
                   Connection with Various Insurance Policies, Including Payment of Policy Premiums and
                   Broker Fees, and (B) Banks to Honor and Process Checks and Electronic Transfer
                   Requests Related Thereto [Docket No. 8]




         1
             The Debtor and the last four digits of its taxpayer identification number is: uBiome, Inc. (0019). The Debtor’s
             headquarters is located at 360 Langton Street, Suite 301, San Francisco, CA 94103.
         2
             The Debtors filed certain motions and applications that were approved on a final basis at the hearing conducted on
             September 5, 2019 and are not listed herein.
01:25143825.1
                                                                    1
                        Case 19-11938-LSS         Doc 49     Filed 09/06/19    Page 2 of 3


         5.     Debtor’s Motion for Entry of Interim and Final Orders, Pursuant to Sections 105(a), 363,
                1107(a), and 1108 of the Bankruptcy Code (I) Authorizing the Debtor to Pay Certain Pre-
                Petition Claims of Critical Vendors and (II) Authorizing and Directing Financial
                Institutions to Honor and Process Checks and Transfers Related to Such Claims [Docket
                No. 10]

         6.     Debtor’s Motion for Entry of Interim and Final Orders (I) Authorizing the Debtor to
                Obtain Postpetition Secured Financing, (II) Authorizing the Use of Cash Collateral,
                (III) Granting Liens and Superpriority Administrative Expense Status, (IV) Granting
                Adequate Protection, (V) Modifying the Automatic Stay, and (VI) Scheduling a Final
                Hearing [Docket No. 13]

                       PLEASE TAKE FURTHER NOTICE that a hearing on the First Day
         Pleadings, and certain other motions and applications, was held on September 5, 2019, at which
         time the Court approved the First Day Pleadings identified above on an interim basis. See
         Docket Nos. 34, 36, 37, 39, 46 and 47.

                        PLEASE TAKE FURTHER NOTICE that a hearing to consider final approval
         of the First Day Pleadings is scheduled for October 2, 2019 at 10:00 a.m. (ET) at the United
         States Bankruptcy Court for the District of Delaware, 824 Market Street, 6th Floor, Courtroom
         No. 2, Wilmington, Delaware 19801 before the Honorable Laurie Selber Silverstein, United
         States Bankruptcy Judge for the District of Delaware.

                        PLEASE TAKE FURTHER NOTICE that any responses or objections to the
         First Day Pleadings must be in writing, filed with the Clerk of the Bankruptcy Court, 824 Market
         Street, 3rd Floor, Wilmington, Delaware 19801, on or before September 23, 2019 at 4:00 p.m.
         (ET) (the “Objection Deadline”), and served upon (i) proposed counsel for the Debtor, Young
         Conaway Stargatt and Taylor, LLP, 1000 N. King Street, Wilmington, Delaware 19801 (Attn:
         Andrew L. Magaziner (email: amagaziner@ycst.com); (ii) the United States Trustee, 844 King
         Street, Suite 2207, Wilmington, Delaware, 19801, Attn: Jane M. Leamy, Esq.
         (Jane.M.Leamy@usdoj.gov); (iii) counsel for the DIP Financing Parties, (A) Morrison &
         Foerster LLP, 200 Clarendon St., Boston, MA 02116 (Attn: Alex Rheaume)
         (arheaume@mofo.com), and (B) Gibson, Dunn & Crutcher LLP, 200 Park Avenue, New York,
         NY 10166-0193 (Attn: Jason Goldstein) (jgoldstein@gibsondunn.com); and (iv) counsel to any
         statutory committee appointed in the chapter 11 case.

                        PLEASE TAKE FURTHER NOTICE that copies of the First Day Pleadings,
         and any of the related interim orders, are available, free of charge, from the website of the Court
         appointed    claims      agent,   Donlin      Recano      &     Company,      Inc.,   located    at
         www.donlinrecano.com/ubiome.




01:25143825.1
                                                         2
                      Case 19-11938-LSS   Doc 49    Filed 09/06/19   Page 3 of 3


                   IF NO OBJECTIONS TO ANY OF THE FIRST DAY PLEADINGS ARE
         TIMELY FILED, SERVED, AND RECEIVED IN ACCORDANCE WITH THIS
         NOTICE, THE COURT MAY GRANT THE RELIEF REQUESTED IN CONNECTION
         WITH SUCH FIRST DAY PLEADINGS WITHOUT FURTHER NOTICE OR
         HEARING.


         Dated: Wilmington, Delaware   YOUNG CONAWAY STARGATT & TAYLOR, LLP
                September 6, 2019
                                       /s/ Jordan E. Sazant
                                       Michael R. Nestor (No. 3526)
                                       Joseph M. Barry (No. 4221)
                                       Andrew L. Magaziner (No. 5426)
                                       Joseph M. Mulvihill (No. 6061)
                                       Jordan E. Sazant (No. 6515)
                                       Rodney Square, 1000 North King Street
                                       Wilmington, Delaware 19801
                                       Telephone: (302) 571-6600
                                       Facsimile: (302) 571-1253

                                       Proposed Counsel to the Debtor and Debtor in Possession




01:25143825.1
                                                3
